           Case 1:17-cv-09307-JPO Document 66 Filed 01/08/19 Page 1 of 2



                                                                                      Fish & Richardson P.C.
                                                                                      601 Lexington Avenue
VIA ECF AND E-MAIL                                                                    52nd Floor
                                                                                      New York, NY 10022

January 8, 2019                                                                       212 765 5070 main
                                                                                      212 258 2291 fax


Honorable J. Paul Oetken, U.S.D.J.                                                    Vivian Cheng
United States District Court, Southern District of New York                           Associate
                                                                                      cheng@fr.com
Thurgood Marshall United States Courthouse                                            212 641 2293 direct
40 Foley Square
New York, NY 10007
OetkenNYSDChambers@nysd.uscourts.gov

Re: King-Devick Test Inc. v. NYU Langone Hospitals et al., Case No. 1:17-cv-09307-JPO

Dear Judge Oetken:

We represent Defendants NYU Langone Hospitals, New York University, Steven L. Galetta, and
Laura J. Balcer (together, “Defendants”) in the above-captioned action. We write pursuant to
Paragraphs 1(B) and 2(E)(ii) of Your Honor’s Individual Practices in Civil Cases.

Defendants wish to file, in redacted form, Defendants’ Letter Motion for Leave to Amend
Defendants’ Answer and Counterclaims, dated January 8, 2019 (“Defendants’ Letter”).
Defendants’ Letter contains quotes from the Transcript of the Deposition of Steven Devick and
Plaintiff’s Response to Defendants’ Second Set of Interrogatories (Nos. 4–23), both of which
were designated “CONFIDENTIAL” by Plaintiff pursuant to the parties’ Stipulated
Confidentiality Agreement and Protective Order (the “Protective Order”).1 Both an unredacted
and highlighted version of Defendants’ Letter are being submitted to the Court by e-mail in
accordance with Your Honor’s Individual Practices.

Lugosch v. Pyramid Co. of Onondaga provides that documents “may be kept under seal if
‘countervailing factors’ in the common law framework or ‘higher values’ in the First
Amendment framework so demand.”2

Defendants seek to redact portions of Defendants’ Letter only because those portions contain
information that Plaintiff has designated as Confidential. While Defendants do not believe there
are “countervailing factors” or “higher values” that warrant the sealing of this information under
Lugosch v. Pyramid Co. of Onondaga, Defendants acknowledge that Plaintiff provided the
testimony and interrogatory responses at issue with the expectation that they would be treated as
Confidential material under the Protective Order.3

1
  Dkt. No. 37.
2
  Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 124 (2d Cir. 2006) (quoting In re New York Times Co., 828
F.2d 110, 116 (2d Cir.1987)).
3
  Defendants note that, under the Protective Order, the Court “retains discretion whether to afford confidential
treatment to any Discovery Material designated as ‘Confidential’ or ‘Highly Confidential – Attorneys’ Eyes Only’
and submitted to the Court in connection with any motion . . . that may result in an order and/or decision by the
Court.” Dkt. No. 37, ¶ 16.
          Case 1:17-cv-09307-JPO Document 66 Filed 01/08/19 Page 2 of 2




Honorable J. Paul Oetken, U.S.D.J.
January 8, 2019
Page 2


We thank the Court for its attention to this matter.

Respectfully submitted,




Vivian Cheng
Counsel for Defendants

cc: Counsel for Plaintiff (via ECF and e-mail)
